                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                         AUSTIN DIVISION


BRETT HORVATH                                      §
         Plaintiff,                                §
                                                   §
VS.                                                §    CIVIL ACTION NO. 1:17-CV-00256-RP
                                                   §
CITY OF LEANDER, TEXAS and                         §
BILL GARDNER, in his official and                  §
individual capacities,                             §
              Defendants.                          §


                       DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW DEFENDANTS CITY OF LEANDER and BILL GARDNER, and file this

Motion for Summary Judgment, and would show this Honorable Court the following:

                                               I.
                         BACKGROUND INFORMATION AND GENERAL ALLEGATIONS

         Plaintiff Horvath is a former fire fighter and first responder for Defendant City of Leander.

Plaintiff initially filed suit against Defendant in Texas state court alleging employment

discrimination and retaliation in violation of Texas Labor Code Chapter 21 and Title VII, and

violation of First Amendment rights. With the inclusion of the federal causes of action, Defendant

timely removed this matter to federal court. Plaintiff thereafter amended his pleadings, but still

asserts these same causes of action, which arise under the same operative facts and alleged

misconduct.

         Based on alleged religious beliefs, Plaintiff refused to comply with a City of Leander Fire

Department mandatory vaccination policy that required all firefighter/first responders get a Tdap

vaccine. Plaintiff claims that his religious needs were not reasonably accommodated after he declined

to elect either of the accommodations offered to him by the City of Leander after about two months


Defendants’ Motion for Summary Judgment/23134                                                    Page 1
of discussions regarding the same. Defendant would show that it engaged in an extensive interactive

dialogue with Plaintiff, made reasonable efforts to accommodate his request for an exemption, and

only terminated Plaintiff’s employment after he refused to elect an accommodation options.

Defendant now seeks summary judgment with respect to Plaintiff’s claims.

                                                     II.
                                       UNDISPUTED FACTUAL BACKGROUND

         Plaintiff was hired by the City of Leander on April 7, 2012 as a Firefighter/EMT. Exhibit A,

Defendant 144.

         On October 1, 2014, the City of Leander Fire Department adopted an Infection Control Plan.

Exhibit A, Defendant 1002-1017. The goal of the policy was to provide a safe and healthful work

environment for staff and members of the public served by the Fire Department first responders. Id.

Under this new policy, the Fire Department provided certain infectious disease immunizations to its

employees at no cost, generally following the Center for Disease Control (CDC) Vaccination

recommendations for adults, as part of a health maintenance plan. Id.

         On November 3, 2014, the Fire Department issued a directive mandating that all personnel

receive influenza shots. Exhibit A, Defendant 667. Plaintiff requested an exemption from the

influenza vaccination, citing religious grounds. Exhibit B, Horvath Deposition 41. Chief Gardner

consulted with Ryan Mueller, a director at the Williamson County and Cities Health District

regarding Plaintiff’s exemption. Exhibit C, Gardner Deposition 19. The exemption was approved by

Fire Chief Gardner with the caveat that Plaintiff must use increased isolation, cleaning, and personal

protective equipment to prevent the spread of the flu to himself, co-workers, or patients. Exhibit A,

Defendant 267. No other vaccination exemption was requested, provided, or approved at that time.

Id.

         On July 6, 2015, Plaintiff received a promotion from Firefighter to Driver/Pump Operator,

which came with a salary increase. Exhibit A, Defendant 36. As a Driver/Pump Operator, Plaintiff

was responsible for driving fire personnel to the scene of an emergency, as well as general firefighter


Defendants’ Motion for Summary Judgment/23134                                                     Page 2
duties such as responding to rescue and fire suppression scenes and performing first responder duties

in medical and non-medical emergencies. Exhibit A, Defendant 195-198. 1

         In late 2015, flu shot time came around again, Plaintiff again requested and received an

exemption from Chief Gardner. Exhibit B, Horvath Deposition 44-48. Also in 2015, the City of

Leander Fire Department adopted a Health & Safety Program designed to provide a safe working

environment of members of the fire department, despite the risks inherent in their position, to limit

exposure to situations that could have harmful or undesirable consequences on the department or its

members. Exhibit A, Defendant 325-328, 401.

         Beginning in 2016, Defendant mandated that its personnel receive the Tdap vaccination, a

vaccine that protects against three potentially life-threatening bacterial diseases: tetanus, diphtheria,

and pertussis (also known as whooping cough). Exhibit A, Defendant 665. For reference, the CDC

recommends the Tdap vaccine for all adults ages 19 and older who have never received the vaccine,

especially health care workers who have direct contact with patients. Exhibit F, DiGuilio 3. There is

also a State Health Department recommendation that health workers get this vaccine and a

Williamson County and Cities Health District recommendation that health care workers mandate the

vaccination.      Exhibit C, Gardner Deposition 26-27. He understood this to include EMS/first

responders. Id. The City of Leander Fire Department had applied for and secured a grant that would

help fund the vaccinations so that they could be provided free of charge to Employees covered by the

policy. Exhibit A, Defendant 717-723. The City fire fighters, who are also all first responders, were

sent for TB testing and Immunization boosters. Exhibit A, Defendant 666.

         Plaintiff sought an exemption from this vaccine on January 14 and 20, 2016. Exhibit A,

Defendant 246-247, 307. Plaintiff’s request was the first time Defendant was asked to address an

accommodation request for this vaccine. In fact, Plaintiff had previously received the vaccine,

1
  A City of Leander firefighter’s essential duties and responsibilities include but are not limited to responding to all
types of rescue, fire suppression, medical and non-medical emergency calls, implementing actions required to save
lives and property, participate in continuing study, training and drill activity to achieve and maintain required skills
to include regular fitness program to maintain good health and physical strength, and perform rescue emergency
medical care, extinguish, containment, overhaul salvage and exposure protection. Exhibit A, Defendant 38-42.

Defendants’ Motion for Summary Judgment/23134                                                                       Page 3
decades earlier. Exhibit A, Defendant 114. Over the next couple of months, the parties went back and

forth discussing potential alternatives and accommodations to address the request, and Chief Gardner

sought advice and guidance from John Teal and Dr. Christine Shen of the Williamson County and

Cities Health District. Exhibit A, Defendant 200-204, 212-229, 252, 303. Chief Gardner’s concerns

were whether there were any actions that could be taken that would eliminate exposure of vaccine-

preventable diseases for non-vaccinated public safety employees who provide medical attention and

work in a communal living environment. Exhibit C, Gardner Deposition 31-37. During that time a

number of different potential resolutions were presented by Plaintiff and by the Chief Gardner in an

attempt to find resolution. Exhibit A, Defendant 201-204, 212-229, 303.

          On March 8, 2016, the City presented a job assignment accommodation to Plaintiff for the

position of Code Enforcement Officer. Exhibit A, Defendant 223. The Fire Department position

would offer the same pay, same benefits, the cost to re-educate would be covered by the City and no

vaccines would be necessary. Id.

         On March 17, 2016, the City finalized its accommodation proposal for Plaintiff and gave him

two options and a March 24 deadline to respond. Exhibit A, Defendant 225-226. The first option was

to transfer him into this Code Enforcement Officer Position that would allow him to stay in the Fire

Department, but work in a position that did not involve providing healthcare services or involve the

communal living of a fire department. Id. Under this first option, he would maintain the same salary

and benefits and would be provided the necessary training for the position at Defendant’s expense.

Id. The other option allowed Plaintiff to remain in his current position as long as he agreed to: (1)

wear personal protective equipment at all times while on duty, (2) submit to testing for possible

diseases when his health condition justified, and (3) keep a log of his temperature. Plaintiff dismissed

the first option for multiple reasons. Exhibit B, Horvath Deposition 89. However, Plaintiff admits

that he never made any real effort to determine what the new job entailed. Id at 84.




Defendants’ Motion for Summary Judgment/23134                                                      Page 4
         Plaintiff declined both options on March 21, 2016, and suggested alternative

accommodations. Exhibit A, Defendant 227. Plaintiff believed that wearing a mask at all times,

during a 24-hour shift, was medically unjustified. Exhibit B, Horvath deposition 106-107. Chief

Gardner responded to Plaintiff via correspondence and stated that the previously stated

accommodations were non-negotiable, explained the rationale, and extended the response deadline to

March 28. Exhibit A, Defendant 228.

         In addition to obtaining advice from Williamson County and Cities Health District, the City

underwent independent research regarding religious accommodations in the work place, infectious

diseases in general, as well as obtaining information from the infectious disease resource website and

the Oregon Health and Science University. Exhibit A, Defendant 308, 421- 484, 519-556. Further, the

City obtained information from written scholarly articles, the American Academy of Pediatrics, the

Baptist Press, U.S. Department of Health and Human Service Center for Disease Control and

Prevention, U.S. Equal Employment Opportunity Commission, and Texas case law. Id.

         On March 23, 2016, Plaintiff again declined both options as presented. Exhibit A, Defendant

229. On March 28, 2016, Defendant initiated an Administrative Investigation to review Plaintiff’s

case. Exhibit A, Defendant 231. Assistant Chief Davis interviewed Plaintiff, with his labor

representative, Jeff Foster, present. Exhibit B, Horvath Deposition 101-102. Plaintiff admitted to

declining both options presented to him by Chief Gardner, and declined again. Exhibit A, Defendant

232-235. Assistant Chief Davis concluded that Plaintiff violated the Fire Department’s Code of

Conduct 4B, by willfully disobeying a direct order from Chief Gardner. Id at 242-244. As a result,

Plaintiff was terminated from his employment with the Leander Fire Department on March 29, 2016.

Id at 253-254. Plaintiff did not appeal or otherwise challenge the termination or the presented

accommodation through the City grievance system. Exhibit A, Defendant 270-271, 762-763.




Defendants’ Motion for Summary Judgment/23134                                                    Page 5
         In May 2016, the Williamson County & Cities Health District issued a situation report

addressing a potential outbreak of pertussis at Deer Creek Elementary School, a school with students

from Travis and Williamson counties. Exhibit A, Defendant 670.

         Dr. Christie Shen, former Director of the Williamson County and Cities Health District,

agrees that Tdap vaccines should be mandatory for firefighters and EMTs. Exhibit D, Shen

Deposition 11. First responders have an equivalent role in healthcare as a physician or a nurse and it

is standard for physicians and nurses to be vaccinated with these same vaccines. Id. Dr. Shen does

not believe that there is any reasonable accommodation for a firefighter who objects to a Tdap

booster or vaccine and is unaware of any accommodations offered. Id at 18, 37-38. Specifically, it is

her belief Baylor Scott & White would not hire an employee, even if that employee’s duties did not

include direct contact with patients, unless vaccinated. Id at 38.

         Plaintiff’s expert and Defendant’s expert have different opinions as to what is a medically

reasonable accommodation to taking the Tdap vaccination. Plaintiff’s designated expert is Dr. Lee

M. Wetzler. Exhibit E, Wexler Report. Dr. Wexler opined that the plan proposed by Chief Gardner

requiring Plaintiff to wear an N95 mask during the entirety of the 24-hour shift was not medically

reasonable, but agreed with all of the other requested precautions. Id at 2.

         Defendant’s designated expert is Dr. Daniel B. DiGiulio. Exhibit F, Dr. DiGuilio Report.

Contrary to Dr. Wexler, Dr. DiGuilio opined that Plaintiff is at risk for acquiring and subsequently

transmitting pertussis despite herd immunity because pertussis infections can be entirely

asymptomatic. Id 2-3. Herd immunity is imperfect, failures have been reported and should not be

considered as providing equivalent protection to an individual as vaccination. Id. Although there may

be other reasonable accommodation plans that would not entail the constant use of an N95 mask, a

plan that includes constant N95 mask usage is not unreasonable; it is on the conservative side of the

spectrum. Id at 4. Due to the complex nature of the problem of pertussis there is no perfect, single set

of interventions. Id.



Defendants’ Motion for Summary Judgment/23134                                                      Page 6
                                                        III.
                                                SUPPORTING EVIDENCE

         In support of its Motion, and in addition to any pleadings and discovery on file with this

Court, Defendant relies on the following evidence by reference:

         Exhibit A:          City of Leander Affidavit and Records;
         Exhibit B:          Deposition of Plaintiff;
         Exhibit C:          Deposition of Chief Gardner;
         Exhibit D:          Deposition of Dr. Shen;
         Exhibit E:          Plaintiff Expert Report; and
         Exhibit F:          Defendant Expert Report

                                                        IV.
                                                  LEGAL STANDARD

         Summary judgment is proper in any case where there is no genuine issue of material fact.

Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S.Ct. 2548, 2552 (1986). A

defendant who seeks summary judgment on a plaintiff’s cause of action must demonstrate the

absence of a genuine issue of material fact by either (1) submitting summary judgment evidence that

negates the existence of a material element of plaintiff’s claim or (2) showing there is no evidence to

support an essential element of plaintiff’s claim. Celotex Corp., 477 U.S. at 322-25. The party

opposing the motion must then come forward with affirmative evidence to defeat it. Anderson v.

Liberty Lobby, Inc., 477 U.S. 242, 257 (1986).                 Conclusory allegations, speculation and

unsubstantiated assertions are not adequate to satisfy the non-movant’s burden. Douglas v. United

Services Auto Association, 79 F.3d 1415, 1429 (5th Cir. 1996).

         The nonmovant must go beyond the pleadings and designate specific facts showing that there

is a genuine issue for trial. See Prejean v. Foster, 227 F.3d 504, 508 (5th Cir. 2000). There must be

more than “some metaphysical doubt as to the material facts.” Webb v. Cardiothoracic Surgery

Assocs., 139 F.3d 532, 536 (5th Cir. 1998)(citing Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

Corp., 475 U.S. 574, 586 (1986)).

         Title VII makes it “unlawful . . . for an employer . . . to fail or refuse to hire or to discharge

any individual, or otherwise to discriminate against any individual with respect to his compensation,


Defendants’ Motion for Summary Judgment/23134                                                         Page 7
terms, conditions, or privileges of employment, because of such individual's . . . religion . . . .” 42

U.S.C. §2000e-2(a)(1). Employers subject to the statute have a statutory obligation to make

reasonable accommodation for the religious observations of its employees, unless doing so would

create an undue hardship.’” Eversley v. MBank Dallas, 843 F.2d 172, 175 (5th Cir. 1988) (quoting

Trans World Airlines, Inc. v. Hardison, 432 U.S. 63, 75 (1977)).

         Similarly, the Texas Commission on Human Rights prohibits an employer from

discriminating against an employee on the basis of their religion, and for retaliating against a person

who opposes a discriminatory practice. Tex. Lab. Code §21.051 and §21.055. Because the express

purpose of the Act is to provide for execution of the policies of Title VII, cases interpreting the

federal law are guiding authority. Tex. Lab. Code §21.001(1); NME Hosps., Inc. v. Rennels, 994

S.W.2d 142, 144 (Tex.1999). See also, Machinchick v. PB Power, Inc., 398 F.3d 345, 356 (5th Cir.

2005)(observing there was “no meaningful distinction” between analysis under Title VII and the

TCHRA). As such, Defendant will address the federal and state discrimination and retaliation claims

together.

         There is no individual employee liability under Title VII or the Texas Labor Code, so

Defendants will assume that the only claim asserted against Chief Gardner is for First Amendment.

         At the summary judgment stage, claims of discrimination under Title VII are analyzed using

the burden-shifting test, whereby the plaintiff carries the initial burden of establishing a prima facie

case of religious discrimination.” McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802 (1973)). To

establish a prima facie case of religious discrimination based on failure to accommodate, a plaintiff

must produce evidence demonstrating that: "(1) he has a bona fide religious belief that conflicts with

an employment requirement; (2) he informed the employer of this belief; and (3) he was disciplined

for failure to comply with the conflicting employment requirement." Weber v. Roadway Express,

Inc., 199 F.3d 270, 273 (5th Cir. 2000).




Defendants’ Motion for Summary Judgment/23134                                                      Page 8
         Once a prima facie case is made, the burden then shifts to the employer to either 1) show that

it provided a reasonable accommodation for the employee’s religious practice; or 2) show that it

could not offer a reasonable accommodation without undue hardship. Thomas v. Nat’l Ass’n of Letter

Carriers, 225 F.3d 1149, 1156 (10th Cir. 2000); Weber, 199 F.3d at 273. “Undue hardship” exists, as

a matter of law, when an employer is required to bear more than a de minimis cost. Trans World

Airlines, Inc. v. Hardison, 432 U.S. 63, 84 (1977). 2

         Plaintiff also asserts a claim for retaliation, under both the state and federal statutory

schemes. To make out a prima facie case of retaliation, a plaintiff must show: “(1) participation in a

protected activity known to defendant, (2) an employment action disadvantaging the person engaged

in the protected activity, and (3) a causal link between the protected activity and the adverse

employment action.” Raggs v. Miss. Power & Light Co., 278 F.3d 463, 471 (5th Cir. 2002).

However, it is clear from the Complaint that the operative retaliation claim is the alleged failure by

the City of Leander to provide reasonable religious accommodation. Plaintiff’s claim for retaliation is

entirely dependent upon and duplicative of Plaintiff’s claim of the alleged failure to accommodate

constituting discrimination.

                                                           V.
                                         LEGAL ARGUMENT AND BRIEFING

         A.        City Non-Discriminatory Reason for Terminating Plaintiff’s Employment.

         Plaintiff’s employment discrimination and retaliation claims fail as a matter of law as the

City had a legitimate non-discriminatory reason for terminating Plaintiff’s employment.

         The employer's burden of showing a legitimate non-discriminatory reason for its actions is

not a particularly steep hurdle. It is not a court's role to second-guess an employer's personnel

decisions, even if foolish, so long as they are non-discriminatory. Meiri v. Dacon, 759 F.2d 989, 995

(2nd Cir. 1985), cert. denied, 474 U.S. 829 (1985). Federal courts do not have a “roving commission


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 Although intermediate evidentiary burdens shift back and forth under this framework, "[t]he ultimate burden of
persuading the trier of fact that the defendant intentionally discriminated against the plaintiff remains at all times
with the plaintiff." Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 143, 120 S. Ct. 2097 (2000).

Defendants’ Motion for Summary Judgment/23134                                                                       Page 9
to review business judgments,” Mont. v. First Fed. Sav. & Loan Ass'n of Rochester, 869 F.2d 100,

106 (2nd Cir. 1989) (quoting Graefenhain v. Pabst Brewing Co., 827 F.2d 13, 21 n. 8 (7th Cir. 1987)),

and may not “sit as super personnel departments, assessing the merits—or even the rationality—of

employers' non-discriminatory business decisions.” Mesnick v. General Elec. Co., 950 F.2d 816, 825

(1st Cir. 1991). Thus, “[e]vidence that an employer made a poor business judgment generally is

insufficient to establish a question of fact as to the credibility of the employer's reasons.” Dister v.

Continental Group, Inc., 859 F.2d 1108, 1116 (2nd Cir. 1988).

         Plaintiff has the ultimate burden of persuasion of either establishing that the City’s conduct

"was more likely than not motivated, in whole or in part" by discriminatory reasons (Howley v. Town

of Stratford, 217 F.3d 141, 150 (2d Cir. 2000)) or intentionally discriminated. Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133, 143 (2000).

         For a period of about two months, Plaintiff and the City Fire Department had meetings,

exchanged information, consulted internally and externally, and exchanged proposals and counter-

proposals, all in an effort to accommodate Plaintiff’s request that he not undergo a mandatory

vaccine. There is no evidence that this was not a legitimate policy to put in place for employees

performing emergency medical response. It is undisputed that the Fire Chief ultimately determined

what accommodations he reasonably believed would address both the City’s duty and obligations to

its employees/public and Plaintiff’s asserted religious beliefs.

         On March 17, 2016, Chief Gardner presented his final offer to Plaintiff with two choices:

other employment within the Department as a code enforcement officer, retraining provided and no

change in compensation; or personal protective device usage while on duty and other precautions that

would reduce the risk of exposure to Plaintiff, Plaintiff’s co-workers and the vulnerable members of

the public. Chief Gardner had no obligation to continue discussions after two months of interactive

dialogue. Plaintiff was given a deadline to elect his preference and Plaintiff refused to do so. Even

after the City initiated disciplinary action against Plaintiff for his failure to elect, he did not do so. As



Defendants’ Motion for Summary Judgment/23134                                                          Page 10
discussed in detail below, the accommodations offered were reasonable and it would have been an

undue burden for the City to have offered accommodation that potentially endangered the health of

its employees and the general public.

         Plaintiff violated City Fire Department policy by not complying with a direct order and was

terminated as a result. As such, the City is entitled to judgment as a matter of law with respect to

Plaintiff’s claims of discrimination and retaliation.

         B.        The City Offered Reasonable Accommodation.

         The City is entitled to summary judgment on Plaintiff’s state and federal discrimination and

retaliation claims, as it offered Plaintiff reasonable accommodation to address his request for a

vaccine exemption. As noted above, once a prima facie case is established, the burden shifts to

Defendant to prove that Plaintiff was reasonably accommodated, or that accommodation would have

resulted in undue hardship.

         In reviewing whether a request for religious accommodation was met by his employer, courts

look to the “totality of the circumstances,” with an eye to “whether the combination” of

accommodations provided by the employer was reasonable. Sanchez-Rodriguez v. AT&T Mobility

Puerto Rico, Inc., 673 F.3d 1, 12 (1st Cir. 2012). 3 The question is not whether any individual action

by the employer constituted a reasonable accommodation, but whether the series or combination of

efforts demonstrate that the employer was acting reasonably. Sanchez, at 12-13.

         Defendant must only show that it offered a reasonable accommodation, not that it offered the

accommodation preferred by the employee or any specific accommodation. Ansonia Bd. of Educ. v.

Philbrook, 479 U.S. 60, 68-69. “[W]here the employer has already reasonably accommodated the

employee’s religious needs, the statutory inquiry is at an end. The employer does not need to show

that each of the employee’s alternative accommodations would result in undue hardship.” Id. The


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  See also, Sturgill v. United Parcel Serv., Inc., 512 F.3d 1024, 1030 (8th Cir. 2008) (“What is reasonable depends on
the totality of the circumstances”); Hudson v. W. Airlines, Inc., 851 F.2d 261, 266 (9th Cir. 1988)(examining the
accommodations available to the employee and concluding that “[a]ll of these accommodations together” provided
the employee with a reasonable accommodation).

Defendants’ Motion for Summary Judgment/23134                                                                  Page 11
Court in Philbrook expressly recognized that it did not want to create a framework where it would be

giving employees "every incentive to hold out for the most beneficial accommodation" even where

an employer offers a reasonable accommodation. Id at 69.

         Once the employer demonstrates that it offered the plaintiff a reasonable accommodation, it

has, as a matter of law, satisfied its obligations. Id. (noting that, as per the statute’s language, “any

reasonable accommodation by the employer is sufficient to meet its accommodation obligation”).

         Courts have held that encouraging a plaintiff to transfer to another position within the

company and offering assistance toward that effort constitutes a reasonable accommodation. For

example, in Bruff v. North Mississippi Health Services, Inc. (244 F.3d 495, 502 (2001)), the Fifth

Circuit held that a medical center adequately accommodated an employee who had a religious

objection by giving the employee 30 days to find another position and directing an in-house

employment counselor to assist the employee. The Court found that “a significant reduction in salary

alone ... does not make the accommodation unreasonable.” Id. See also, Pinsker v. Joint Dist. No. 28J

of Adams and Arapahoe Counties, 735 F.2d 388, 390–91 (10th Cir. 1984) (concluding that Title VII

does not require an employer to accommodate religious practices “in a way that spares the employee

any cost whatsoever”). 4

         After two months of interactive dialogue, meetings, exchanged information, internal and

external consultation, and exchanges of proposals and counter-proposals, Chief Gardner ultimately

offered Plaintiff the option of another position in the same department, at the same pay, and with re-

training as the City’s expense; a position that would take him out of the fire department communal

living situation and would eliminate his role providing emergency medical services. In the

alternative, the Chief offered Plaintiff the ability to stay in his role, but under conditions aimed



4
  A similar result was reached by the 11th Circuit, when the employer encouraged the employee to obtain new
employment with the company and offered her assistance in obtaining a new position. Walden v. Centers for
Disease Control & Prevention, 669 F.3d 1277, 1294 (11th Cir. 2012). See also Brener v. Diagnostic Ctr. Hosp., 671
F.2d 141, 145-46 & 146 n.3 (5th Cir. 1982)(holding that, although “[o]f course, an employee is not required to
modify his religious beliefs,” “[a] reasonable accommodation need not be on the employee’s terms, only”).

Defendants’ Motion for Summary Judgment/23134                                                              Page 12
toward reducing the risk that Plaintiff would expose or be exposed to the conditions that the Tdap

vaccine was intended to prevent.

         The City of Leander went well beyond the “reasonable accommodation” recognized in Bruff

and Walden, supra. It did not just encourage or provide information about other potential

employment opportunities, the City offered Plaintiff a specific position, for the same pay, and in the

same department, without any vaccination requirements, but as close to his desired field of

employment as it could reasonably provide.

         The City of Leander went even further in its efforts to accommodate Plaintiff’s asserted

religious needs: it also offered a way for him to remain in his desired position, but with precautions

taken to address the risks posed by allowing an unvaccinated first responder. As is clear for the

summary judgment evidence, reasonable minds differ with respect to the extent of the risk posed by

the Tdap related illnesses and the best ways to avoid transmission. Compare, Exhibits D–F. The law

does not require that the City of Leander develop the perfect solution to a problem that the experts

have not solved. It only has to take reasonable steps.

         While it could have stopped its efforts at accommodation with the opportunity to work in a

different job, as per Dr. Shin’s perspective that the risk of exposure for these conditions cannot be

accommodated, instead the City of Leander Fire Department offered a way for Plaintiff to try to keep

performing in his desired position. Plaintiff claims that the accommodation offered would have been

difficult to comply with, and Defendant does not dispute that is likely true. However, Plaintiff never

even gave it a try. See, e.g., E.E.O.C. v. Caribe Hilton Int'l, 597 F.Supp. 1007, 1012 (D.P.R.

1984)(noting that under an employee's duty to cooperate, an employee is "entitled to refuse any offer

of new employment or other accommodation if he so desires, but he simply, then, cannot claim that

the [employer] has failed to satisfy his needs").

         After two months of interactive dialogue and consideration, Defendant City of Leander

offered Plaintiff two choices in its effort to accommodate Plaintiff’s objection to the mandatory



Defendants’ Motion for Summary Judgment/23134                                                   Page 13
vaccination policy. One allowed him to stay in his desired department and current salary, but

performing tasks in an environment where the vaccination policy was not in effect; and the other

allowed him to stay in his desired position, but with precautions in place to protect both Plaintiff, his

co-workers and the vulnerable public that they served. Plaintiff elected not to elect either option. The

City provided Plaintiff with not just one, but two, reasonable accommodations. As such, his claims

fail as a matter of law.

         C.        A Religious Exemption to the Tdap Vaccine is an Undue Hardship.

         Upon finding that the City offered Plaintiff a reasonable accommodation (and in this case,

two reasonable accommodations), the Court’s analysis need go no further. Philbrook, 479 U.S. at 68-

69 (“Thus, where the employer has already reasonably accommodated the employee’s religious

needs, the statutory inquiry is at an end. The employer need not further show that each of the

employee’s alternative accommodations would result in undue hardship.”). Nevertheless, Plaintiff’s

accommodation claim also fails because his request for a religious exemption from the mandatory

vaccination requirement would have created an undue hardship.

         It is well settled that an employer need not provide a religious accommodation that creates an

undue hardship. Unlike accommodations in the context of a disability under the Americans with

Disabilities Act, proving an “undue hardship” under Title VII is not onerous. See Bruff, 244 F.3d

495, 502 n.20 (comparing undue hardship language of ADA, which requires “significant duty or

expense,” with the substantially lower standard in context of religious accommodation, which is

“anything more than de minimis expense”).

         In order to withstand constitutional scrutiny, a religious accommodation statute must be

“measured so that it does not override other significant interests.” Cutter v. Wilkinson, 544 U.S. 709,

722 (2005). For this reason, it has been said that Congress expects federal religious accommodation

statutes to be “applied in an appropriately balanced way.” Id.




Defendants’ Motion for Summary Judgment/23134                                                      Page 14
         Title VII does not require that safety be subordinated to the religious beliefs of an employee.

Accommodations that create or increase a health or safety risk for the employee or others in the

workplace satisfies the undue hardship requirement. See, e.g., Bhatia v. Chevron U.S.A., Inc., 734

F.2d 1382, 1384 (9th Cir. 1984)(machinist’s request to be exempted from requirement of shaving

was undue hardship where facial hair interfered with effectiveness of respirator in event of toxic gas

exposure, would risk liability of employer for violation of state safety standards and expose co-

workers to more risk); Kalsi v. New York City Transit Auth., 62 F.Supp. 2d 745, 760 (E.D.N.Y.

1998), aff'd, 189 F.3d 461 (2nd Cir. 1999)(employee’s request to wear a turban in lieu of hard hat was

an undue hardship when it created risks not only for the employee but for co-workers). 5

         Here, the City of Leander Fire Department made the determination, based on the advice and

judgment of medical experts that the safety of his first responder personnel and the public they

served would benefit from the highest possible rate of Tdap vaccination among persons who work

provide emergency medical services and that it was needed to provide the safest possible

environment and highest possible quality of care for its patient population. This determination took

into account the guidance and directives issued by various professional and governmental

organizations, and the fact that vaccination is the best known method to prevent the spread of

infection. It is undisputed that the Centers for Disease Control and Prevention (CDC) recommend the

Tdap vaccine for all healthcare workers. The policy enacted by the City took into account that the

Department’s “customers” include uniquely vulnerable patients, including infants and children,

pregnant women, the elderly, and those suffering from chronic health conditions and weakened

immune systems.



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  Risk of harm alone can be an undue hardship; an employer need not demonstrate that a requested accommodation
will actually result in harm. Finnie v. Lee Cnty., Miss., 907 F. Supp. 2d 750, 782 (N.D. Miss. 2012)(holding that the
employer does not have to show that there has been an actual case of safety problems, just that there are safety
risks). “The employer's limited duty of accommodation under Title VII does not require an employer to choose
between potential Title VII liability on the one hand and experimenting with increased risk of workplace injuries on
the other.” Id. at 779 (quoting E.E.O.C. v. Oak-Rite Mfg. Corp., No. IP 99-1962-C H/G, 2001 WL 1168156, at *1
(S.D. Ind. Aug. 27, 2001)).

Defendants’ Motion for Summary Judgment/23134                                                                  Page 15
         Plaintiff was a first responder, providing immediate medical services during emergency

situations. He would therefore work closely with patients, physically providing medical attention. His

failure to vaccinate posed a risk to the vulnerable patients, to himself, to his family, and to his co-

workers, particularly those that he lived in close proximity with in the firehouse.

         In balancing the City’s interests and Plaintiff’s, the City undertook an extensive effort to

address all concerns. In an area of medicine where reasonable, expert minds differ and a matter of

first impression for the City of Leander Fire Department, the City faced a difficult assessment. It

ultimately reached a conclusion that it reasonably believed found a balance between competing

interests. While Plaintiff’s religious interest needed to be preserved, the City could not do so at the

expense of the community it serves. In light of the particular nature of the operations of the Fire

Department’s “business” of providing emergency medical services to its citizens, and the risk of the

transmission of serious and potentially deadly disease constitutes an undue burden. As a result,

Defendant is entitled to judgment as a matter of law.

         D.        No Violation of Plaintiff’s First Amendment Rights.

         Defendant City of Leander and Chief Gardner are additionally entitled to summary judgment

with respect to Plaintiff’s First Amendment claim. Plaintiff claims that his termination and the

alleged failure to find a reasonable accommodation violated his right to free exercise of his religion.

         The free exercise clause guards the individual's practice of her own religion against restraint

or invasion by the government. U.S. Const. Amend. I. In order to prevail on his free exercise claim,

Plaintiff must show that the City of Leander impermissibly burdened one of his sincerely held

religious beliefs. Frazee v. Ill. Dep't of Employment Sec., 489 U.S. 829, 834 (1989)).

         When a First Amendment claim is asserted against a governmental employee, the courts

apply the Pickering balance test: balancing the First Amendment rights of the employee or contractor

against the interests of the government as an employer, with an interest in promoting the efficiency of

the public services it performs through its employees. Pickering v. Bd. of Educ., 391 U.S. 563, 568



Defendants’ Motion for Summary Judgment/23134                                                      Page 16
(1968). This balancing test has been applied to free exercise of religion claims, as well as to the

freedom of speech claims that were addressed in Pickering. See, e.g., Scarbrough v. Morgan County

Bd. of Educ., 470 F.3d 250, 257-60 (6th Cir. 2006). 6 To establish a prima facie case of violation of

First Amendment rights regarding free exercise of religion, Plaintiff must show that: (1) Defendant

imposed a substantial burden on Plaintiff’s belief; (2) Plaintiff’s belief is sincerely held; and (3)

Plaintiff’s belief is religious in nature. See, e.g., Altman v. Minnesota Dep't of Corr., 251 F.3d 1199,

1204 (8th Cir. 2001)(to prevail on their free exercise claim, plaintiffs must first show that the

governmental action complained of substantially burdened their religious activities). To

“substantially burden” means to “prevent[ ] [an] individual from engaging in religiously mandated

activity, or [to] ... require[ ] participation in an activity prohibited by religion.” Midrash Sephardi,

Inc. v. Town of Surfside, 366 F.3d 1214, 1226 (11th Cir. 2004).

         Moreover, the First Amendment Free Exercise Clause does not relieve an individual of the

obligation to comply with a valid and neutral law on the ground that the law contradicts the

individual’s religious beliefs. Employment Div., Dept. of Human Resources of Or. v. Smith, 494 U.S.

872, 878 (1990). In Smith, the Supreme Court held that the Free Exercise Clause does not inhibit

enforcement of otherwise valid laws of general application that incidentally burden religious conduct.

Id at 878–82 (holding that the Free Exercise Clause did not bar the State of Oregon from enforcing

its blanket ban on peyote possession with no allowance for sacramental use of the drug).“A law that

is neutral and of general applicability need not be justified by a compelling governmental interest

even if the law has the incidental effect of burdening a particular religious practice.” Church of the

Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 531 (1993).




6
  See also, Berry v. Dept. of Soc. Servs., 447 F.3d 642, 645-46, 651-52 (9th Cir. 2006) ; Shahar v. Bowers, 114 F.3d
1097, 1103, n. 27 (11th Cir. 1997)(applying Pickering to plaintiff's free exercise claim) and Brown v. Polk County,
61 F.3d 650, 658 (8th Cir. 1995)(noting that Pickering “dealt with free speech rather than the free exercise of
religion” but finding “no essential relevant differences between those rights”). The salient fact in Pickering is that it
involved a government employer, with the attendant need to promote the effective and efficient provision of
government services. Waters v. Churchill, 511 U.S. 661, 675 (1994).

Defendants’ Motion for Summary Judgment/23134                                                                      Page 17
         The Smith principle has been applied to criminal and civil laws, rules, and policies that are

neutral and of general applicability. See, e.g., Seabrook v. City of New York, 210 F.3d 355, 2000 WL

349276, at *1–*2 (2nd Cir. 2000)(denying employees’ motion for a preliminary injunction to enjoin

enforcement of a new Department of Correction directive forbidding correction officers from

wearing skirts while on duty, expressly finding that workplace rules are also subject to Smith). See

also, Kalsi, 62 F.Supp.2d at 761 (neutral enforcement of employer’s hard hat requirement did not

violate the Free Exercise Clause); Finnie, 907 F.Supp.2d at 763-65 (finding that neutral enforcement

of the employer’s pants only requirement did not violate the Free Exercise Clause).

         The Fifth Circuit has applied Smith to a free exercise challenge where a police officer was

terminated after he refused to stop wearing a gold cross pin on his uniform that violated the police

department's “no pins” policy. See Daniels v. City of Arlington, 246 F.3d 500, 505 (5th Cir. 2001). On

appeal, the Fifth Circuit held that the policy did not violate the First Amendment, citing to Smith

based on the district court’s finding that the no-pins policy was facially neutral and generally

applicable, and only incidentally burdened the employee's free exercise of his religion. Id.

         Even if the Smith standard was not dispositive, the City of Leander is entitled to judgment on

the First Amendment claim under the Pickering balancing test. The City’s need to protect its

employees and members of the public from the transmission of serious and sometimes life-

threatening diseases is of the utmost concern, primarily from an ethical and moral duty not to expose

persons to harm, but also from financial and legal ones—avoiding costly worker’s compensation

claims and potential civil liability to patients and their family members and employee family

members if exposure was to occur. See, supra, above on reasonable accommodation/undue hardship.

         Individual Defendant Chief Gardner is additionally entitled to dismissal on the basis of

qualified immunity. Qualified immunity “shields public officials ... from damages actions unless

[their] conduct was unreasonable in light of clearly established law.” Elder v. Holloway, 510 U.S.

510, 511 (1994). Although Defendants dispute that any First Amendment claim is stated against



Defendants’ Motion for Summary Judgment/23134                                                    Page 18
Defendants, supra, in the unlikely event the Court determines a fact issue regarding the same exists,

the individual Defendant is still entitled to dismissal from this case as there was no violation of a

clearly established right.

         Individual public officials performing discretionary functions are entitled to complete

protection as long as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known—a right that was clearly established at the

time of the misconduct. Loftus v. Clark–Moore, 690 F.3d 1200, 1204 (11th Cir. 2012); Terrell v.

Smith, 668 F.3d 1244, 1250 (11th Cir. 2012).

         While it was clearly established at the time of Plaintiff’s termination that a public employer

may not retaliate against an employee for an exercise of constitutionally protected speech, the

question before the Court is whether the right was clearly in light of the specific context of this case,

not as a general legal standard. Terrell, 668 F.3d at 1250. Whether speech is protected public speech

and whether the interests of the government outweigh the individual is a balancing test that the Court

performs, weighing various factors. In light of the various facts and factors discussed above a

reasonable government official could weigh the factors and reach the conclusion that it could take

action against Plaintiff.

         Lastly, Defendant City of Leander is additionally entitled to summary judgment with respect

to Plaintiff’s First Amendment retaliation claim because of the City of Leander’s sovereign

immunity. It is well-established that municipal liability for constitutional torts only arises when it is

the execution of an official policy causes the plaintiff's injury. See Monell v. Department of Soc.

Svcs., 436 U.S. 658, 694 (1978). Based on the investigation of this policy violation, Chief Gardner

terminated Plaintiff. However, as per City Policy, his decision was subject to appeal and

reconsideration by the City Manager.

         The City Manager is the final decision-maker for the City of Pflugerville with respect to

Plaintiff’s employment conditions and status. Plaintiff had the opportunity to challenge the Chief’s



Defendants’ Motion for Summary Judgment/23134                                                      Page 19
decision, to present evidence in support of his position, and to seek a review and reconsideration of

the termination. To the extent Plaintiff claims that the allegedly unreasonable accommodations and

the decision to terminate his employment for failing to elect one of the offered choices constituted a

violation of his freedom of religion, those decisions were not made by the City’s final decision-

maker.

         Since there is no evidence of a violation of or a policy or custom of the City of Leander to

violate Plaintiff’s constitutional rights, the City and Chief Gardner are entitled to judgment with

respect to the First Amendment claim as a matter of law.



         WHEREFORE, PREMISES CONSIDERED, Defendants CITY OF LEANDER and CHIEF

GARDNER pray that this Court grant its Motion for Summary Judgment, and for such other and

further relief to which Defendant may be justly entitled.



                                                       Respectfully submitted,

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Defendants’ Motion for Summary Judgment/23134                                                   Page 20
                                                Certificate of Service

     I here certify that a true and correct copy of the foregoing Defendants’ Motion for
Summary Judgment has been provided to:

         Matt Bachop
         DEATS DURST & OWEN, PLLC
         707 W. 34th Street
         Austin, Texas 78705

by Electronic Service in accordance with the Federal Rules of Civil Procedure, on May 25, 2018.



                                                              /s/ Joanna Lippman Salinas
                                                              Joanna Lippman Salinas




Defendants’ Motion for Summary Judgment/23134                                                 Page 21
